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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                :    Hon. Lois H. Goodman
                                        :
           v.                           :    Mag. No. 20-5036
                                        :
ANDREW RAMEY                            :    CRIMINAL COMPLAINT


      I, Brian Teague, being duly sworn, state that the following is true and
correct to the best of my knowledge and belief:

                                 SEE ATTACHMENT A

      I further state that I am a Special Agent with the Department of
Homeland Security, Homeland Security Investigations, and that this Complaint
is based on the following facts:

                                 SEE ATTACHMENT B

continued on the attached pages and made a part hereof.




                                      s/ Brian Teague
                                      __________________________________
                                      Brian Teague, Special Agent
                                      Department of Homeland Security
                                      Homeland Security Investigations

Attested to me by telephone,
pursuant to FRCP 4.1(b)(2)(A)

November 13, 2020,
in the District of New Jersey,



________________________________
HONORABLE LOIS H. GOODMAN
UNITED STATES MAGISTRATE JUDGE



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                                ATTACHMENT A

                                   COUNT ONE
                       (Distribution of Child Pornography)

     From on or about March 13, 2020, through June 8, 2020, in Ocean
County, in the District of New Jersey, and elsewhere, the defendant,

                               ANDREW RAMEY,

did knowingly distribute material containing child pornography, as defined in
Title 18, United States Code, Section 2256(8)(A), using any means or facility of
interstate or foreign commerce or that had been mailed, or had been shipped or
transported in or affecting interstate or foreign commerce by any means,
including by computer.

       In violation of Title 18, United States Code, Section 2252A(a)(2)(B) and
Title 18, United States Code, Section 2.




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                                 COUNT TWO
                       (Possession of Child Pornography)

     On or about November 13, 2020, in Ocean County, in the District of
New Jersey, and elsewhere, the defendant,

                               ANDREW RAMEY,

did knowingly possess material that contained images of child pornography, as
defined in Title 18, United States Code, Section 2256(8), which had been
mailed, or shipped or transported using any means or facility of interstate or
foreign commerce or in or affecting interstate or foreign commerce by any
means, including by computer, or that was produced using materials that had
been mailed, or shipped or transported in or affecting interstate or foreign
commerce by any means, including by computer.

      In violation of Title 18, United States Code, Section 2252A(a)(5)(B).




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                                ATTACHMENT B

       I, Brian Teague, am a Special Agent with the Department of Homeland
Security, Homeland Security Investigations (“HSI”). I have participated in this
investigation, discussed this matter with other law enforcement officers, and
have reviewed documents and other materials. Accordingly, I have personal
knowledge of the facts set forth below. Because this criminal complaint is
being submitted only for the limited purpose of establishing probable cause, I
have not included each and every fact known to me concerning this
investigation. Rather, I have set forth only the facts that I believe are necessary
to establish probable cause. Unless specifically indicated, all conversations
and statements described in this complaint are related in sum and substance
and in part, and all dates and figures are approximate.

       1.     On or about November 29, 2018, defendant ANDREW B. RAMEY
(“ANDREW RAMEY” or “RAMEY”), was convicted in the United States District
Court for the District of New Jersey of possession of child pornography in
violation of Title 18, United States Code, Section 2252A(a)(5)(B), and he was
sentenced to 12 months’ imprisonment and 9 years’ supervised release.
Defendant RAMEY was released from the custody of the Bureau of Prisons and
commenced his term of federal supervised release on or about December 9,
2019. As a condition of his supervised release, defendant was required to
reside at a residence in Brick Township, New Jersey (the “Residence”), and was
subject to location monitoring. At all times relevant to this complaint,
defendant RAMEY resided at the Residence.

      2.    As set forth below, within months of being released from prison,
defendant RAMEY committed new child pornography offenses using, among
other things, the BitTorrent Network.

        3.    The BitTorrent Network is a publicly available online peer-to-peer
(“P2P”) file-sharing network, that is, a worldwide network of linked computers.
To access the BitTorrent Network, a user must first download P2P software
(“BitTorrent Software”), which is widely available for free on the Internet from
numerous different companies and application designers. BitTorrent Software
allows the user to, among other things, (1) place files into a designated “shared”
folder on his or her hard drive, from which other BitTorrent users can then
download those files directly to the “shared” folders of their own computers;
and (2) search, select, and directly download, into his or her “shared” folder,
files from the “shared” folders of other BitTorrent users. BitTorrent Software
typically keeps a log of each download event, and forensic examiners can often
determine, using such logs, from which Internet Protocol (“IP”) address a user
obtained a particular file. Internet Service Providers (“ISPs”) assign a unique IP
address to each computer or device that accesses the internet and typically
keep records of the ISP customer accounts associated which each assigned IP
address.

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      4.    From on or about March 13, 2020, through on or about June 8,
2020 (collectively, the “Relevant Period”), law enforcement used BitTorrent
Software to access the BitTorrent Network and, downloaded twelve (12) unique
video and image files containing images of child sexual abuse and child
pornography from a certain IP address (the “Target IP Address”). The files were
downloaded from a shared folder on a device or devises assigned the Target IP
Address.

        5.     HSI Special Agents have reviewed the video files downloaded from
the device that was assigned the Target IP Address and identified them as
containing images of child sexual abuse and child pornography. The following
files, identified by their SHA hash values,1 are a representative sample of the
files that HSI Agents reviewed:


          Filename and SHA Hash Value                       Description

    Filename:                                      This video depicts a
    pthc pedo rare deepthroat 5yo wow no           prepubescent female
    gaging.mpg                                     performing oral sex on an
                                                   adult male. The female
    SHA Hash Value:                                appears to be approximately
    ANYLSKZQYRWKRC3Z6LAJOGCZDNXEC24Y               4-5 years old. The video is
                                                   approximately 2 minutes and
                                                   19 seconds long.

    Filename:                        This video depicts a
    PTCH 2014 (5yo GREAT ANAL).wmv   prepubescent female, naked
                                     from the waist down, being
    SHA Hash Value:                  penetrated by an adult
    YCHIL4XZBZGWYHAHUYZCWKPB4DP4XMRR male’s penis. The female
                                     appears to be approximately
                                     5-6 years old. The video is 1
                                     minute and 22 seconds long.




1The Secure Hash Algorithm (“SHA”) is a means of identifying files using a
digital “fingerprint” that consists of a unique series of letters and numbers.
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    Filename:                                     This video depicts a naked
    [Julyjailbait.club] – russian boy fake fuck   teenage boy, removing the
    preteen sister (pthc, amateur).mp4            pants of a prepubescent
                                                  female before performing oral
    SHA Hash Value:                               sex on the female’s vagina
    EKKD342MLY3GFDS5MWTIAT7CL672OO7F              and penetrating the female’s
                                                  vagina with his penis. The
                                                  female appears to be
                                                  approximately 8-10 years
                                                  old. The video is 4 minutes
                                                  and 45 seconds long.



      6.     Following some of law enforcement’s downloads during the
Relevant Period as described above, HSI obtained ISP records indicating that
the Target IP Address had been assigned to an ISP account (the “Account”)
subscribed to the Residence. HSI also obtained IP address logs indicating that
the Target IP Address had been assigned to the Account during the Relevant
Period.

      7.     Based on its investigation, on or about November 13, 2020, law
enforcement obtained and executed a search warrant at the Residence. During
the search, law enforcement discovered and seized, among other things, an
Android smartphone belonging to defendant RAMEY (the “Device”). Law
enforcement located the Device in Defendant RAMEY’s living area within the
Residence and, after being advised of his Miranda rights, defendant RAMEY
provided the password to the Device. Law enforcement’s preliminary
examination of the Device conducted at the Residence revealed that it
contained BitTorrent Software and hundreds of images and more than ten
videos depicting child pornography.2 The images and videos depict, among
other things, prepubescent children engaged in sexual acts with adults.

       8.    One of the video files that law enforcement found on the Device,
with file name “pthc pedo rare deepthroat 5yo wow no gaging.mpg,” was the
same child pornography file that law enforcement downloaded from a device
using the Target IP Address during the Relevant Period, as confirmed by its
unique SHA hash value.




2The Device contains thousands of image and video files, which HSI Special
Agents are still in the process of reviewing as of the date of this criminal
complaint.
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      9.    Based upon my education, training and experience, and my
discussions with other law enforcement officers, and to the best of my
knowledge and belief, the images and videos described above were transported
and transmitted in interstate commerce and were transported and transmitted
using any means and facility of interstate and foreign commerce, including by
computer, based upon, among other things, the presence of images and videos
in the downloads folder of RAMEY’s smartphone and the presence of BitTorrent
Software on RAMEY’s smartphone.

       10. In addition, based upon my education, training and experience,
and my discussions with other law enforcement officers, and to the best of my
knowledge, the images and videos described above were produced using
materials that were mailed, shipped, and transported in or affecting interstate
or foreign commerce by any means, including by computer.




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